
PER CURIAM.
The jurisdiction of our courts of probat and administration, is prescribed with so much precision by our statutes, that there is no occasion to resort to the english doctrines on that subject, except so far as to ascertain the meaning of the phrase in our statutes, referring, in certain cases, *to “the county or corporation, in" which the estate of the intestate, or the greater part thereof, shall be,” as a criterion of jurisdiction. That is the rule to be applied to this case. There is no case in point in the eng-*320lish courts, the supreme power there residing in a natural person. But, resprting to the analogies of the english law, we may safely say, that the place, where a debt, constituting the whole of the estate, must be demanded and paid or prosecuted, and where all the “ documentary proofs constituting the foundation of the claim are found, is that in which the estate is; and, therefore, that the administration in question was duly granted. The order is affirmed.
